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             MUNICIPAL CODE
                                    OF THE




                  CITY OF ALBANY
                                                        , . Y.
                                                          N


                                  CONTAINING


                                                                                ,
                         Charter , Second               Class Cities ' Law
           The Dongan
                                                                         City
            The Unrepealed   Portions of the Former
                                     Special State Laws
              Charters , General and

                                 APPLICABLE        TO



                          THE CITY OF ALBANY
                                        AND


                  THE GENERAL              CITY ORDINANCES


                        COMPLETE      TO   SEPTEMBER , 1910



                Compiled and Arranged by Franklin            M . Danaher and

                        Charles H . Mills , under the Direction of


                              ARTHUR       L   . ANDREWS
                                  Corporation      Counsel

                                   ALBANY , N . Y .
                                            1910




                                         PRESSOF
                                  THEBRANDOWPRINTINGCOMPANY
                                             , N. Y.
                                        ALBANY
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                                             GENERAL            ORDINANCES                                           849

            ments for the period of five years                     from        the date         of the contract         of

             sale , and       for the performance of all other conditions                             in  con
                                                                                                            said
             tract       contained    .   The amount           of such        bond    and the sufficiency   of
            the sureties to be approved by the Mayor , and its form and man
            ner of execution by the Corporation Counsel or his assistant.
               § 6.        All moneys      received       by the City Treasurer from such sales
             shall be credited            by him        as for moneys received   for redemption
             of lands purchased by. the city                     for non - payment                of taxes , water
            rents and assessments .
              § 7.  This ordinance shall take effect immediately .




                                                        CHAPTER 72
             An     ordinance         regulating        the carrying   of            loaded       firearms      in     the
                                                        City   of Albany
                                                                                     Passed March          6 , 1905.

               The City            of Albany,      in    Common         Council convened , ordains as
            follows :
               Section 1.            Any person , other          than     a peace          officer , who shall          in
            any  publie street , highway , or place within the city of Albany .
            have   or carry concealed   upon  his person any loaded pistol, re
            volver , or other firearm , without theretofore having been author
            ized     as hereinafter        provided        to carry the same, shall be guilty of
            a misdemeanor , punishable                    by a     fine   not        exceeding       one     hundred
            and      fifty dollars , or by         imprisonment           in    a penitentiary             or county
             jail for not more than one hundred                         and    fifty days , or        by     both .
               § 2.   Any person , except as provided in this ordinance , who has
            occasion   to carry a loaded revolver , pistol , or firearm for his pro
            tertion , may apply to the Commissioner of Public Safety - and
             such      officer ,    if satisfied    that the       applicant          is    a    proper and          law
            abiding        person , shall     give     said person a permit allowing him
                                                         the
             to carry        such     loaded firearms for such period of time as he may
            deem         proper .      Any nonnresident who does business in the city of
             Albany , and has    occasion  to carry a loaded    pistol , revolver , or
             firearm while in the said city , must make application for permission
             to do so , to the Commissioner of Public Safety , in the same manner

            as is        required     of residents of said city , and shall be subject to the
             same        conditions and restrictions .
                  § 3.  If , at the time of arrest , a loaded pistol , revolver , or fire
             arm     of any description shall be found concealed on the person of
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                  850                                    GENERAL ORDINANCES

                 the one arrested , the officer making the arrest shall state such fact
                 to the magistrate before whom the prisoner is brought , and shall
                 make a separate     complaint against such prisoner , for violation of
                  the     provisions of this ordinance                         .
                       § 4.     The         of Public Safety is hereby authorized
                                            Commissioner




                                                                                                                                              him
                 and empowered , for reason   appearing to be satisfactory to




                                                                                                                                                   ,
                    annul     revoke any permission given under this ordinance
                                       or
                  to




                                ,




                                                                                                                                                   .
                                                                                                                             as
                 Every                                                 permit                                                     above pro




                                                                                                         be
                               person        to       whom                              shall                 granted




                                                               a




                                                                                        of
                 vided         shall pay          therefor            the     sum                  two dollars and fifty cents
                         ,




                                                              ,




                                                                                                                                                 ;
                                                                       aid
                                                 applied
                                            be




                                                                               of
                 which         shall                                                the            Police         Pension      Fund        and

                                                              be in




                                                                                                                                      ;


                                                                                                                                                   so of a
                                                                                                          by
                 return                    made monthly
                                      detail shall            the Commissioner
                                in




                                             ,



                         Safety          Comptroller the City




                                                                                        be to of




                                                                                                                      of
                 Public              the                            the amount
                                                 to
                                        ,




                                                                                                                  ,
                                                               All

                 received and credited      persons  whom such permission      shall
                                                       .



                     granted are hereby declared
                  be




                                                       individually responsible for
                                                                                   to
                 their own acts                               consequences                  that may arise
                                                  or




                                                       the                                                                    from        the use
                                            ,
                 of




                                       pistols                                                                                                per
                                                                             or



                         loaded                        revolvers                   firearms                carried under                the
                                                 ,



                                                                      ,




                mission obtained as provided                                  this ordinance        ,
                                                                         in




                                                                                                              .
                               All ordinances                     parts
                                                                                                               of
                                                             or




                                                                                    ordinances                       the city             Albany
                                                                              of




                                                                                                                                     of
                  5
                  §




                                                                                                                                                   ,
                         .




                                                              provisions
                                                                                        of



                 inconsistent            with          the                                         this        ordinance          are      hereby
                repealed
                              .




                                                                                                   73




                                                                      CHAPTER

                 An ordinance determining                                                                                   the fire depart
                                                                                            of




                                                                                                                      of




                                                                  the number                        members
                                                                                                                                be
                                                              or




                   ment         and     the classes                   grades               which              they    shall           divided
                                                                                   in




                                                                                     the Fire Department and
                                                                      of




                                                                                                   of




                      Section               The number                     members
                                  1
                                  .




                                                 grades                       they shall
                                                                                                                be
                                        or




                 the     classes                                      which                  divided   hereby
                                                             in




                                                                                                                                     is




                 determined            as follows
                                                        :




                       There     shall be one chief                         two     permanent assistant                           chiefs      one
                                                                  of ,




                                                                                                                                          ,




                 clerk        one superintendent                           fire alarm                   one assistant          superintend
                       ,




                                                                                             ,
                          of




                 ent           fire    alarm           two operators                two linemen                       one     battery man
                                                 ,




                                                                               ,




                                                                                                                  ,




                                                                                                                                                   ,




                          superintendent                                        and supply depot
                                                        of




                 one                                          the      hose                        one assistant
                                                                                                                       ,




                                                                                                                                                   not




                 superintendent                                             supply depot
                                                 of




                                                       hose and                           thirteen foremen
                                                                                                        ,




                                                                                                                                          ,
                 to




                         exceed        thirteen        assistant             foremen                          engineers
                                                                                                                               of




                                                                                                   ten                               steamers
                                                                                         ,




                                                                                                                                                 ,
                                        of




                 ten      firemen                steamers                    drivers
                                                                                               of




                                                                  ten                                   steamers          three      tillermen
                                                             ,




                                                                                                                      ,




                                                                                                                                                   ,




                                    trueks sixty four permanent
                                            of




                 three drivers                                                                                    hosemen     and ladder
                                                         ,

                                                                       -




                 men    two relief engineers  one relief fireman                                                one    relief driver one
                       ,




                                                              ,




                                                                                                          ,




                                                                                                                                          ,




                  relief truckman one call assistant engineer                                                   not                        forty
                                                                                                                       to




                                                                                                                              exceed
                                             ,




                                                                                                          ,




                                                                                                                                                 .




                  five    call hosemen                and laldermen                 one veterinary                     surgeon          and one
                                                                              ,




                  department            physician
                                                        .
